Case 2:17-bk-51964        Doc 70     Filed 12/08/17 Entered 12/08/17 15:30:05           Desc Main
                                     Document     Page 1 of 6


                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE:                                              Case No. 17-51964

Peter DeMarco                                       Chapter 13

                       Debtor.                      Hon. Charles Caldwell




     APPLICATION FOR ATTORNEY FEES PURSUANT TO L.B.R. 2016-1(b)(2)(C)

         Debtor's Counsel Brian D. Flick, Esq. hereby makes this Initial Application for Attorney
Fees Pursuant to L.B.R. 2016-1(b)(2)(C). Pursuant to L.B.R. 2016-1(b)(2)(C) Debtor's Counsel
who chooses to opt-out of the “no look” fee pursuant to L.B.R. 2016-1(b)(2)(A) shall file their
initial application for attorney fees within sixty (60) days of confirmation.

         In support of the Application, Debtor's Counsel hereby states the following:

   a. Legal Services Provided: All services rendered through Confirmation of Debtor's Chapter
      13 Plan
   b. Result of Services: Debtor's Plan confirmed August 28, 2017.
   c. Time Spent: Attorney Time:
                             Marc E. Dann (MD) 0.20 hrs. @ $395.00/hr. = $79.00
                             Brian D. Flick (BF) 18.8 hrs. @ $325.00/hr. = $7,018.98
                             Emily White (EW) 1.3 hrs. @ $325.00/hr. = $422.50
                     Law Clerk Time
                             Whitney Horton (WH) 0.50 hrs. @ $175.00/hr. = $87.50
                     Paralegal Time:
                             Senior Paralegal (SP) 1.35 hrs. @ $150.00/hr. = $202.50
                             Junior Paralegal (JP) 2.30 hrs. @ $125.00/hr. = $287.50


         Date      Service                                        Time
         3/29/2017 Initial phone call with client                 0.15 (BF)
                   Phone call with client re: filing timeline
         3/30/2017                                                0.30 (BF)
                   and automatic stay issues
                   Email with client for docs needed to
         3/30/2017                                                0.10 (SP)
                   complete petition
                   Prepare motion to extend stay &
         3/30/2017                                                1.00 (BF)
                   affidavit
         3/30/2017 File prep                                      0.10 (SP)
         3/30/2017 Internet research for judgment liens etc.      0.50 (SP)
Case 2:17-bk-51964    Doc 70    Filed 12/08/17 Entered 12/08/17 15:30:05   Desc Main
                                Document     Page 2 of 6



                Meeting with client to review skeleton
      3/31/2017 petition and review file for remainder of   2.00 (BF)
                docs needed to complete schedules
                Prepared support for motion to extend
       4/3/2017                                             0.30 (BF)
                stay
                Prepared remainder of petition and plan,
      4/10/2017                                             2.00 (BF)
                emailed with client
                Email exchanges with client for docs
      4/11/2017                                             0.50 (WH)
                needed
      4/11/2017 Docketing                                   0.10 (SP)
                341 letter to client, reminder of debtor
      4/11/2017                                             0.20 (SP)
                ed to client
      4/11/2017 Upload docs to Trustee                      0.10 (SP)
      4/14/2017 Meeting with client to finish schedules     1.75 (BF)
      4/25/2017 Efiling continuance, emails with client     0.30 (BF)
      4/25/2017 Upload order for motion extend stay         0.15 (BF)
      4/25/2017 Review IRS POC, compare with plan           0.25 (BF)
                Phone call with client to discuss new
      4/28/2017                                             0.15 (BF)
                hearing date
                Phone call with client to discuss
      5/12/2017 mortgage objection                          0.15 (BF)
      5/22/2017 Received and uploaded Debtor's taxes        0.25 (BF)
      5/28/2017 Letter to client, Debtor Ed reminder        0.25 (SP)
                Reviewed and approved Rushmore
       6/2/2017 Agreed Order                                0.15 (BF)
       6/2/2017 Reviewed Columbus Tax POC                   0.15 (BF)
       6/6/2017 Prepared file for 341                       0.50 (BF)
                Attended 341, meeting with Debtor pre-
       6/8/2017 and post-hearing                            1.00 (BF)
                Email with Trustee and Debtor re:
      6/14/2017 business docs                               0.30 (BF)
                Phone call with Marc and Debtor re:
      6/16/2017 business docs                               0.30 (BF)
      6/26/2017 Email to Debtor re: business docs           0.15 (BF)
                Meeting with Debtor to discuss case
       7/5/2017 issues                                      1.25 (BF)
                Prepare amended plan & schedules,
                email with Trustee, phone call with
       7/6/2017 Trustee re: business issues                 1.00 (BF)
      7/10/2017 Court appearance - pre-hearing              0.40 (BF)
      7/11/2017 Uploaded docs to Trustee                    0.25 (BF)
                Review docs - strategize re: Trustee
      7/20/2017 disclosure                                  0.20 (MD)
Case 2:17-bk-51964     Doc 70    Filed 12/08/17 Entered 12/08/17 15:30:05           Desc Main
                                 Document     Page 3 of 6


                   Emails with staff attorney to set
                   business meeting, emails with client,
       7/25/2017   review file                                0.30 (BF)
       7/31/2017   Review revised Rushmore POC                0.75 (BF)
        8/1/2017   Email to Debtor re: business meeting       0.15 (BF)
                   Phone call with Debtor to prepare for
       8/11/2017   business meeting                           0.25 (BF)
       8/14/2017   Prep file for business meeting             0.30 (BF)
                   Court appearance - attend business
       8/15/2017   meeting                                    1.25 (BF)
       8/24/2017   E-filing                                   0.10 (JP)
       8/25/2017   E-filing                                   0.50 (JP)
       8/28/2017   Hearing Prep                               0.30 (EW)
       8/28/2017   Court appearance - confirmation            0.80 (EW)
       8/28/2017   Emails with Brian re: hearing              0.20 (EW)
                   Detailed email to client with notes from
       8/29/2017   hearing                                    0.25 (BF)
                   Reviewed Trustee objection, email to
       8/31/2017   client                                     0.15 (BF)
        9/6/2017   Amending schedules                         0.30 (JP)
                   Review amended schedules, gave OK to
        9/6/2017   file                                       0.15 (BF)
        9/7/2017   Filing amended schedules                   0.40 (JP)
        9/7/2017   Phone call with Debtor to discuss case     0.15 (BF)
       9/13/2017   Phone calls with IRS re: POC               0.20 (JP)
       9/13/2017   Review Rushmore objection                  0.15 (BF)
       9/14/2017   Review scheduling order                    0.15 (BF)
                   Review email from staff attorney and
       9/15/2017   modified plan                              0.25 (BF)
       9/15/2017   E-filing 3rd amended plan                  0.20 (JP)
       9/20/2017   Phone call with Debtor re: pleadings       0.25 (BF)
                   Drafting withdrawal of objection to IRS
       9/26/2017   POC                                        0.20 (JP)
                   E-filing withdrawal of objection to IRS
      9/26/2017    POC                                        0.20 (JP)
     10/12/2017    Uploading docs to Drive                    0.20 (JP)

   a. A copy of the retainer agreement disclosing Debtor Counsel's hourly fees and the option to
      seek hourly fees is attached as Exhibit A to this Application.
   b. As disclosed in the Counsel's Application for Compensation, Debtors paid Counsel
      $6,500.00 in attorney fees pre-petition. (Doc. No. 1) of which $6,150.00 were pre-petition
      attorney fees, $310.00 were paid for court costs and the remaining $40.00 went for pre-
      petition and post-petition credit counseling expenses.
   c. No previous application for services has been made for the services for which the
Case 2:17-bk-51964    Doc 70   Filed 12/08/17 Entered 12/08/17 15:30:05       Desc Main
                               Document     Page 4 of 6


      application is made;
   d. Debtor(s)’ Counsel hereby requests $1947.98 and has been paid $0.00 to date by the
      Chapter 13 Trustee.

      WHEREFORE, Debtor’s Counsel requests fees in the amount of $1,947.98.

                                         Respectfully Submitted,

Date: 12/8/2017                          /s/ Brian D. Flick, Esq.
                                         Brian Flick (0081605)
                                         Marc E. Dann (0039425)
                                         DannLaw
                                         PO Box 6031040
                                         Cleveland, OH 44103
                                         216/373-0539
                                         216/373-0536 - fax
                                         notices@dannlaw.com
                                         Attorneys for Debtor
Case 2:17-bk-51964       Doc 70    Filed 12/08/17 Entered 12/08/17 15:30:05            Desc Main
                                   Document     Page 5 of 6


                   NOTICE OF APPLICATION FOR COMPENSATION

The Debtor has filed an Application for Compensation.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the motion, or if you want the court to consider your
views on the motion, then on or before twenty-one (21) days from the date set forth in the
certificate of service for the motion/objection, you or your attorney must file with the court a
response explaining your position by mailing your response by regular US Mail to US
Bankruptcy Court, 170 North High Street, Columbus, Ohio 43215 2 OR your attorney must file a
response using the court's ECF System.

The court must receive your response on or before the date above.

You must also mail a copy of your response either by 1) the court's ECF System or by 2) regular
US Mail to:

       DANNLAW                               FRANK M. PEES, CHAPTER 13 TRUSTEE
       PO Box 6031040                        130 E. Wilson Bridge Road, Suite 200
       Cleveland, OH 44113                   Columbus, OH 43065

       OFFICE OF THE US TRUSTEE
       170 N. High Street
       Columbus, OH 43215-2403

If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion/objection and may enter an order granting that relief.

Date: December 8, 2017                       /s/Brian D. Flick, Esq.
                                             Brian D. Flick, Esq.
                                             Attorney for Debtor
Case 2:17-bk-51964       Doc 70    Filed 12/08/17 Entered 12/08/17 15:30:05          Desc Main
                                   Document     Page 6 of 6


                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Application for Compensation was served (i)
electronically on the date of filing through the court’s ECF System on all ECF participants
registered in this case at the email address registered with the Court and (ii) by ordinary U.S.
Mail on December 8, 2017 addressed to:

Peter DeMarco
950 Augusta Glen Dr.
Columbus OH 43235

OSU Veterinary Hospital
Law Office of Charles Mifsud, LLC
6305 Emerald Parkway
Dublin, OH 43016

All creditors on the attached matrix


                                                   /s/ Brian D. Flick, Esq.
                                                   Brian D. Flick, Esq.
                                                   DannLaw
